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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

INTERACTIVE INTELLIGENCE, INC., )
an Indiana corporation,               )
                                      )
       Plaintiff and Counterclaim     ) Civil Action No. 1:13-CV-03688-AT
       Defendant,                     )
                                      )
       v.                             )
                                      )
PRESENCE TECHNOLOGY, LLC,             )
a Delaware limited liability company, )
                                      )
       Defendant and Counterclaimant. )

              ORDER OF DISMISSAL WITHOUT PREJUDICE

      The Stipulated Motion for Dismissal Without Prejudice of all claims and

counterclaims asserted between Plaintiff Interactive Intelligence, Inc. (“Interactive

Intelligence”) and Defendant Presence Technology, LLC (“Presence”)(collectively

“Parties”) having been presented in this case, and the Court being of the opinion

that said Motion should be GRANTED, it is hereby

      ORDERED, ADJUDGED AND DECREED that all claims and

counterclaims asserted in this suit between Interactive Intelligence and Presence

are hereby dismissed without prejudice, subject to the terms of the Settlement

Agreement dated July 21, 2014, entered into by the Parties.
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      It is further ORDERED that all attorneys’ fees and costs are to be borne by

the party that incurred them.

IT IS SO ORDERED this 22nd day of July, 2014.



                                      ________________________
                                      Hon. Amy Totenberg
                                      United States District Judge
